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USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT

SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
SANDY GRACIANO, ON BEHALF OF DOC #: ——_
HIMSELF AND ALL OTHER DATE FILED: _ 11/6/2020

PERSONS SIMILARLY SITUATED,

 

Plaintiff,
-against- 20 Civ. 7348 (AT)
REEDS JEWELERS, INC., ORDER

Defendant.
ANALISA TORRES, District Judge:

 

 

The Court has been advised that the parties have reached a settlement in principle. ECF No.
12. The above-titled action shall be dismissed and discontinued without costs, and without prejudice
to the right to reopen the action within thirty days of the date of this Order if the settlement is not
consummated.

Any application to reopen must be filed within thirty days of this Order; any application to
reopen filed thereafter may be denied solely on that basis. Further, if the parties wish for the Court to
retain jurisdiction for the purposes of enforcing any settlement agreement, they must submit the
settlement agreement to the Court within the same thirty day period to be so-ordered by the Court.
Per Rule IV(C) of the Court’s Individual Practices in Civil Cases, the Court will not retain
jurisdiction to enforce a settlement agreement unless it is made part of the public record.

Any pending motions are moot. All conferences are vacated. The Clerk of Court is directed
to close the case.

SO ORDERED.

Dated: November 6, 2020
New York, New York

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ANALISA TORRES
United States District Judge

 
